Case 1:21-md-02989-CMA Document 309 Entered on FLSD Docket 05/18/2021 Page 1 of 2


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                           CASE NO. 21-2989-M DL-ALTO NAGA/Torres

    In re:

    JANUM W 2021SHORT SQUEEZE
    TR ADG G LITIGATION
                                              /

                       CERTIFICATE OF UNDERSTANDG G REGARDING
              ELECTROM C FILG G IN THE SO UTH ERN DISTRICT OF FLORIDA

             1,HeatherL.Blaise,theundersigned,do hereby certifythat:

             1.Iam amem berofgood standing oftheBarofIllinoisand Califom ia.

           2.lhavestudied,understand,and willabide by the LocalRulesforthe Southern District
    ofFlorida.

          3.Ihave sm died,understand,and willabide by theAdm inistrativeProceduresgovem ing
    CM /ECF proceduresin theSouthem DistrictofFlorida.

           4.Iw illonly use this eleckonic filing privilege in the m attercaptioned above and in no
    othercasein the Southem DistrictofFlorida,even ifIhavebeen granted pro hac vice stattzsin
    anothercase in the Southern DistrictofFlorida.

            5.lunderstand and agreethatany m isuseofthiselectronic filing privilege willbebrought
    to the attention ofthe Honorable CeciliaM .Altonaga and thatthisprivilege may be revoked at
    any tim ewithoutnotice.

            6.lfany ofthe inform ation below changesduring the course ofthis action,1shalltile a
    notice ofsuch change in the M DL action,and Ishallupdatem y CM /ECF useraccountpursuant
    to theAdministrativeProcedm es.

             HeatherL.Blaise
             IL 6298241,CA 261619
             Blaise & N itschke,P.C.
             123 N .W ackerD rive Suite 250
             Chicago,IL 60606
             312-448-6602
             hblaise@ blaisenitschk w.com
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    A ttorney Signature:                          .                  D ate:    '
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